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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

  MULLEN AUTOMOTIVE, INC. and ULYSSES
  NOVOA,

                             Plaintiffs,


                      v.                                 Case No. 1:23-cv-07647-AT


  TD AMERITRADE, INC., CHARLES SCHWAB
  & CO., INC., NATIONAL FINANCIAL
  SERVICES, LLC and JOHN DOES 1 THROUGH
  10,


                            Defendants.

                                  NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Peter G. Wilson of Katten Muchin Rosenman LLP, who is

admitted to practice in this court, hereby appears on behalf of Defendants TD Ameritrade, Inc. and

Charles Schwab & Co., Inc. in the above-captioned action. The Clerk of this Court is requested to

note this appearance on the Court’s docket and to forward copies of all entries, orders, notices and

other court documents in this proceeding to the undersigned counsel.


 Dated: September 12, 2023                        Respectfully submitted,


                                       By:        /s/ Peter G. Wilson

                                                  Peter G. Wilson
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                                                  Inc. and Charles Schwab & Co., Inc.
